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                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

   MARK FITZ; GRAYGUNS, INC.; G4
   ARCHERY, LLC; SECOND
   AMENDMENT FOUNDATION;
   FIREARMS POLICY COALITION,
   INC.,
         Plaintiffs - Appellants,               U.S.C.A. No. 23-35478
               v.
   ELLEN ROSENBLUM, In her official
   capacity as Attorney General of the
   State of Oregon; TERRI DAVIE, In her
   official capacity as Superintendent of
   the Oregon State Police,
         Defendants - Appellees.

   DANIEL AZZOPARDI;
   SPORTSMAN'S WAREHOUSE INC.,
         Plaintiffs - Appellants,               U.S.C.A. No. 23-35479
               v.
   ELLEN ROSENBLUM, In her official
   capacity as Attorney General of the
   State of Oregon; TERRI DAVIE, In her
   official capacity as Superintendent of
   the Oregon State Police,
          Defendants - Appellees.
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    KATERINA B. EYRE; TIM
    FREEMAN; MAZAMA SPORTING
    GOODS; NATIONAL SHOOTING
    SPORTS FOUNDATION, INC.;
    OREGON STATE SHOOTING
    ASSOCIATION,
          Plaintiffs - Appellants,               U.S.C.A. No. 23-35539
                v.
    ELLEN ROSENBLUM, In her official
    capacity as Attorney General of the
    State of Oregon; TERRI DAVIE, In
    her official capacity as Superintendent
    of the Oregon State Police,
          Defendants - Appellees,

                and
    OREGON ALLIANCE FOR GUN
    SAFETY,
          Intervenor-Defendant -
          Appellee.

    OREGON FIREARMS
    FEDERATION, INC., an Oregon
    public benefit corporation; BRAD
    LOHREY, Sherman County Sheriff;
    ADAM JOHNSON, an individual;
    CODY BOWEN, Union County
    Sheriff; BRIAN WOLFE, Malheur
    County Sheriff; HAROLD RICHARD
    HADEN, Jr., an individual; KEVIN
    STARRETT; TERRY ROWAN;
    BRIAN PIXLEY; DAMIAN
    BUNTING,
          Plaintiffs - Appellants,               U.S.C.A. No. 23-35540
                v.
    KATE BROWN, Governor of the
    State of Oregon; ELLEN
    ROSENBLUM, Attorney General of
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    the State of Oregon, in both their
    official and personal capacities;
    TERRI DAVIE, In her official
    capacity as Superintendent of the
    Oregon State Police,
          Defendants - Appellees,
                 and
    OREGON ALLIANCE FOR GUN
    SAFETY,
          Intervenor-Defendant -
          Appellee.

                  MOTION TO HOLD APPEAL IN ABEYANCE
                 AND TO SUSPEND THE BRIEFING SCHEDULE

         The Oregon state Defendants-Appellees move to hold these consolidated

   appeals in abeyance, and to suspend the briefing schedule, pending this Court’s en

   banc resolution of Duncan v. Bonta, No. 23-55805 (9th Cir.). Duncan is currently

   scheduled for en banc oral argument the week of March 18, 2024. And as

   explained below, one of the primary questions of law presented in this case is now

   squarely before the Duncan en banc court. Holding these appeals in abeyance

   pending Duncan thus would conserve considerable judicial resources, promote

   judicial economy, and greatly benefit the parties. Intervenor-Defendant-Appellee

   joins in this motion; Plaintiffs-Appellants oppose the motion.




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   A.    Background

         1.     Proceedings in this case

         Oregon voters enacted Ballot Measure 114 in the November 2022 general

   election. Broadly, Measure 114: (1) prohibits the purchase and restricts the use of

   large-capacity magazines (“LCMs”), defined as ammunition feeding devices with a

   capacity of more than 10 rounds; and (2) requires a permit to purchase firearms.

   Four sets of plaintiffs sued state officials challenging the federal constitutionality

   of the measure. Or. Firearms Fed’n, Inc. v. Kotek, No. 2:22-cv-1815-IM (D. Or.);

   Fitz v. Rosenblum, No. 3:22-cv-1859-IM (D. Or.); Eyre v. Rosenblum, No. 3:22-

   cv-1862-IM (D. Or.); Azzopardi v. Rosenblum, No. 3:22-cv-1869-IM (D. Or.).

         The district court consolidated the four actions. After a weeklong bench

   trial, the court upheld the facial constitutionality of Measure 114 under the Second,

   Fifth, and Fourteenth Amendments of the U.S. Constitution. The court did so in a

   written decision, issuing Findings of Fact and Conclusions of Law that totaled 122

   pages, a copy of which is attached as an exhibit. (Ex-1–222). The bulk of the trial

   had focused on the constitutionality of the LCM restrictions under the Second

   Amendment, and the district court’s decision likewise devoted most of its analysis

   to the LCM issue under the rubric of the Supreme Court’s recent decision in New

   York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022). (Ex-19–99).

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         Each plaintiff group filed separate notices of appeal. Fitz, No. 23-35478

   (9th Cir.); Azzopardi, No. 23-35479 (9th Cir.); Eyre, No. 23-35539 (9th Cir.); Or.

   Firearms Fed’n, No. 23-35540 (9th Cir.). This Court then granted Defendants-

   Appellees’ unopposed motion to consolidate the four appeals and, in doing so, set a

   consolidated briefing schedule: Opening briefs are currently due December 4,

   2023, and answering briefs are due January 3, 2024. (Docket Entry No. 9).

         2.    Proceedings in Duncan

         Duncan similarly concerns the federal constitutionality of a state law that

   restricts large-capacity magazines with a capacity of more than 10 rounds—there,

   from California. An en banc panel of this Court previously upheld the facial

   constitutionality of California’s LCM restrictions under both the Second and Fifth

   Amendments to the U.S. Constitution. Duncan v. Bonta, 19 F.4th 1087, 1111,

   1113 (9th Cir. 2021) (en banc).

         While a cert petition in Duncan was pending, the Supreme Court decided

   Bruen. There, the Supreme Court established a two-step test for assessing the

   constitutionality of firearms regulations under the Second Amendment. First, a

   plaintiff must establish that the weapon in question is a bearable arm “in common

   use today for self-defense.” Bruen, 142 S. Ct. at 2134 (internal quotation marks

   omitted). If so, then the government must establish that the challenged regulation

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   “is consistent with the Nation’s historical tradition of firearm regulation.” Id. at

   2130. One week later, the Supreme Court vacated and remanded the initial

   Duncan en banc decision for reconsideration in light of Bruen. Duncan v. Bonta,

   142 S. Ct. 2895 (2022).

         This Court, on remand from the Supreme Court, remanded to the district

   court for consideration of Bruen in the first instance. Duncan v. Bonta, 49 F.4th

   1228, 1231 (9th Cir. 2022) (en banc). On remand from this Court, the district court

   ruled that California’s restrictions on large-capacity magazines violate the Second

   Amendment and enjoined their enforcement by the state. Duncan v. Bonta,

   No. 17-cv-1017-BEN, 2023 WL 6180472, at *35 (S.D. Cal. Sept. 22, 2023).

         The constitutionality of California’s law is now back before this Court,

   specifically, the en banc court. The Duncan en banc panel accepted California’s

   appeal as a comeback case from the prior en banc proceedings. No. 23-55805 (9th

   Cir.) (Docket Entry No. 3). As a result, the Duncan en banc panel now will

   examine the constitutionality, under Bruen, of California’s restrictions on large-

   capacity magazines, namely, magazines with a capacity of more than ten rounds.

   The en banc panel subsequently issued a briefing schedule and calendared oral

   argument for the week of March 18, 2024; the panel also stayed the district court’s

   injunction pending disposition of the en banc appeal. (Docket Entry Nos. 12, 13).

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   B.    Argument

         This Court has the inherent authority to manage its own docket, including by

   holding appeals in abeyance where appropriate. In particular, “the power to stay

   proceedings is incidental to the power inherent in every court to control the

   disposition of the causes on its docket with economy of time and effort for itself,

   for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254–55 (1936).

   To determine whether to stay proceedings, the Court generally examines “the

   possible damage which may result from the granting of a stay, the hardship or

   inequity which a party may suffer in being required to go forward, and the orderly

   course of justice measured in terms of the simplifying or complicating of issues,

   proof, and questions of law which could be expected to result from a stay.”

   Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005) (quoting CMAX, Inc.

   v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)).

         Here, the factors all counsel in favor of holding this appeal in abeyance

   pending the en banc resolution of Duncan. The two central questions in this case

   are whether Measure 114’s dual firearm provisions—(1) restricting magazines with

   a capacity of more than ten rounds, and (2) requiring a permit to purchase a

   firearm—pass constitutional muster under the Second Amendment in light of

   Bruen, 142 S. Ct. 2111. The Duncan en banc panel will resolve or, at a minimum,

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   greatly inform the answer to the first question. See Duncan v. Bonta, 83 F.4th 803,

   806 (9th Cir. 2023) (en banc) (staying the district court’s injunction in Duncan

   pending resolution of en banc proceedings; citing the district court order at issue in

   this case as raising similar legal questions to Duncan). As noted above, the great

   majority of the trial proceedings, record, and legal analysis below concerned that

   question of law. As such, proceeding with the appeal at this juncture would

   expend litigant and judicial resources needlessly. Regardless of how the parties

   initially brief and argue the issue to the Court, re-briefing and, potentially, re-

   argument would be necessary to consider and address the controlling import of

   Duncan’s resolution on the LCM issue in this case. A stay pending Duncan thus

   would prevent a duplicative expenditure of litigant and judicial resources.

         In addition, no party would experience hardship from a stay. The Duncan en

   banc panel is proceeding apace and, in any event, will ultimately control the

   Court’s application and analysis of Bruen to state restrictions on LCMs. See Miller

   v. Gammie, 335 F.3d 889, 893, 899–900 (9th Cir. 2003) (en banc) (delineating

   when three-judge panels are bound by prior precedent). In other words, not staying

   the proceedings will not speed up the Court’s resolution of this appeal. Moreover,

   plaintiffs would not experience prejudice from a stay. Plaintiffs sued below

   seeking injunctive relief against Measure 114. Although the district court denied

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   plaintiffs their requested relief, a state trial court has enjoined the law in its entirety

   in separate state proceedings, which remain ongoing. See Arnold v. Kotek, No.

   22CV41008 (Harney Cnty. Cir. Ct. Jan. 5, 2023) (amended order extending

   preliminary injunctive relief against Oregon Ballot Measure 114). To the contrary,

   holding the appeal in abeyance would give all parties the benefit of avoiding

   unnecessary and duplicative litigation.

   C.     Conclusion

          The Court should hold these consolidated appeals in abeyance and suspend

   the briefing schedule pending the en banc panel’s resolution of Duncan v. Bonta,

   No. 23-55805 (9th Cir.).

                                              Respectfully submitted,
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                                              /s/ Robert A. Koch
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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 13, 2023, I directed the Motion to Hold

Appeal in Abeyance and to Suspend the Briefing Schedule to be electronically

filed with the Clerk of the Court for the United States Court of Appeals for the

Ninth Circuit by using the appellate CM/ECF system.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

                                         /s/ Robert A. Koch
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